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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BUTCHIE LONG,                                   :           CIVIL ACTION
          Petitioner,                           :
                                                :
       v.                                       :           NO.    19-cv-3192
                                                :
THOMAS S. McGINLEY, et al.,                     :
          Respondents.                          :

                                             ORDER

       AND NOW, this       5TH    day of December, 2022, following a telephone conference with

counsel on this date, IT IS HEREBY ORDERED:

       1.      An evidentiary hearing regarding Claim I in Petitioner’s Brief in Support of His

Petition for a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2254 (ECF No. 29) will be held on

Tuesday, February 14, 2023, commencing at 10:00 a.m. in Courtroom 3E of the United States

Courthouse, 601 Market Street, Philadelphia, PA 19106.

       2.      The parties shall submit any proposed hearing exhibits, and shall identify hearing

witnesses, no later than February 6, 2023.

                                                    BY THE COURT:


                                                       /s/ Lynne A. Sitarski              .
                                                    LYNNE A. SITARSKI
                                                    United States Magistrate Judge
